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             ORDERED in the Southern District of Florida on February 11, 2025.




                                                                   Corali Lopez-Castro, Judge
                                                                   United States Bankruptcy Court
_____________________________________________________________________________
                                         UNITED STATES BANKRUPTCY COURT
                                          SOUTHERN DISTRICT OF FLORIDA

              In re:       Alberto Alonso-Galvez                               Case No.: 22-17346-CLC
                                                                               Chapter 13
                                Debtor                /

                                         ORDER REINSTATING CHAPTER 13 CASE

                  This matter came to be heard on the Consent Calendar on January 28th, 2025 on
            the debtor’s motion to reinstate case ECF#60. The court, if applicable, has entered an
            order reopening the case and the debtor has paid all required reopening fees. Based on
            the record, it is

                    ORDERED as follows:

                 1)     The motion is granted and this case is REINSTATED. Pursuant to 11
           U.S.C. §362(c)(2)(B), the automatic stay terminated on the date this case was dismissed
           and was not in effect from that date until the entry of this order.

                 2)    The Trustee’s Final Report, if any filed, is deemed withdrawn and the
           Order Discharging Trustee, if entered, is deemed vacated.

                  3)      If not previously filed, any and all documents required to be filed by the
            debtor(s) under 11 U.S.C. §521(a)(1), Bankruptcy Rule 1007, and Local Rule 1007-1
            shall be filed no later than 14 days after entry of this order.

                    4)        The following checked provision(s) also apply:

                              [ ]    This case was dismissed prior to the conclusion of the meeting of
                                     creditors, under 11 U.S.C. §341. A new §341 meeting of creditors
                                     and confirmation hearing shall be set and noticed to all parties of
                                     record by the Clerk of Court. The notice shall also establish a new
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                               deadline to file proofs of claims and deadline to file a motion
                               objecting to discharge under §1328(f) or to file a complaint objecting
                               to dischargeability of certain debts.

                        [ ]    This case was dismissed after the §341 meeting of creditors was
                               concluded but prior to or at the hearing on confirmation. (If applicable)
                               A further §341 meeting will be conducted at                      . A new
                               confirmation hearing is scheduled for                          ,
                               at                                                                 .m. in
                               courtroom            at                        .The deadline to file a

                               motion objecting to discharge under §1328(f) or to file a complaint
                               objecting to dischargeability of certain debts, is                .
                               The deadline for filing claims (except for governmental units) is
                                              . Previously filed claims need not be refiled.

                        [ ]    This case was dismissed after the §341 meeting of creditors was
                               conducted and after the expiration of the deadline to file a motion
                               objecting to discharge under §1328(f) or to file a complaint objecting
                               to dischargeability of certain debts and the original deadline to file
                               claims, but prior to or at the hearing on confirmation. No new deadlines
                               shall be reset. (If applicable) A further §341 meeting will be
                               conducted at                                   . A new confirmation
                               hearing is scheduled for                                              ,
                               at              .m. in courtroom               at                     .

                        [x ]   This case was dismissed after the §341 meeting of creditors and
                               confirmation hearing and expiration of the deadline to file a motion
                               objecting to discharge under §1328(f) or to file a complaint objecting
                               to dischargeability of certain debts and the original claims bar date.
                               No new §341 meeting, confirmation hearing, or deadlines shall be
                               set, and the case shall proceed in the normal course under the
                               confirmed plan.

                        [x ]   If this box is checked, the following provision applies:

                               As a condition of reinstatement of this case and in order to provide
                               protection of creditors’ vested interests, in the event of conversion to
                               another chapter or dismissal of this reinstated case prior to
                               confirmation, all plan payments held by the Chapter 13 trustee shall
                               be non-refundable and held in trust for the secured creditors as
                               adequate protection, and in trust for priority and administrative
                               creditors. If this case is dismissed or converted, the Trustee shall
                               disburse all funds which were received prior to the order of conversion
                               or dismissal and held in trust. The disbursement shall be on a pro rata
                               basis, less Trustee fees, to the secured, priority




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                              or administrative creditors pursuant to the proposed Chapter 13 Plan
                              which was filed at least one day prior to the last confirmation hearing
                              date. (see Local Rule 1017-2(F) and Interim Local Rule 1019-1 (E), (F),
                              (G), AND (H)).

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          Submitted by:
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          Copies to:
          All parties of record by the Clerk of Court




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